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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

   CHASE STANDAGE,
       Plaintiff,

       v.                                             Civil Action No. ELH-20-2830

   KENNETH BRAITHWAITE et al.,
       Defendants.

                                          ORDER

       For the reasons set forth in the accompanying Memorandum Opinion, it is this 22nd day

of December, 2020, by the United States District Court for the District of Maryland, hereby

ORDERED:

       1) Plaintiff’s Motion for a Preliminary Injunction (ECF 2) is DENIED, without prejudice;

       2) Defendants’ Motion to Dismiss (ECF 8; ECF 27) is GRANTED, without prejudice;

       3) The Clerk shall CLOSE this case.



                                                                 /s/
                                                          Ellen Lipton Hollander
                                                          United States District Judge
